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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                           )
  LAS AMERICAS IMMIGRANT ADVOCACY                          )
  CENTER, et al.,                                          )
                                                           )
                               Plaintiffs,                 ) No. 1:24-cv-01702-RC
           v.                                              )
  U.S. DEPARTMENT OF HOMELAND                              )
  SECURITY, et al.,                                        )
                                                           )
                 Defendants.                               )
                                                           )
                                                           )

 MOTION FOR EMERGENCY STATUS CONFERENCE AND FOR LEAVE TO FILE
 SUPPLEMENTAL BRIEFING IN LIGHT OF PRESIDENT TRUMP’S JANUARY 20
                    ACTION ENDING CBP ONE

       Plaintiffs write to inform the Court of an action taken by President Trump terminating the

use of a smartphone application called CBP One which, under the Rule at issue in this case, became

the only way an individual who arrived in the United States at the southern border could retain the

right to seek asylum. Today’s action not only ends appointments going forward, but cancels all

existing appointments without any notice, including those of Individual Plaintiffs in this case, S.O.

and her two minor children (see Dkt. 57-6), who had appointments set for January 25, 2025. 1

       Given the essential role of CBP One in the functioning of the Rule, Plaintiffs respectfully

request (1) an immediate status conference as soon as today, and (2) leave to file supplemental

briefing to address the impact of President Trump’s action.



1 The termination is set forth on a government website that now states: “Effective January 20,

2025, the functionalities of CBP One™ that previously allowed undocumented aliens to submit
advance information and schedule appointments at eight southwest border ports of entry is no
longer available, and existing appointments have been cancelled.” U.S. Customs & Border
Protection, CBP One™ Mobile Application, https://www.cbp.gov/about/mobile-apps-
directory/cbpone (visited Jan. 20, 2025). Plaintiffs expect that there will also be a forthcoming
Executive Order.
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       Plaintiffs conferred with government counsel who said they could not provide their

position on the motion at this time but intend to file a short response.

         Plaintiffs propose the following briefing schedule should the Court grant leave to file.:

               Plaintiffs’ supplemental brief: Friday, January 24, 2025;

               Defendants’ opposition: Thursday, January 30, 2025; and

               Plaintiffs’ reply: Monday, February 3, 2025 (not to exceed five (5) pages).

Additionally, Plaintiffs also respectfully request that the Court schedule argument on the parties’

cross motions for summary judgment at its earliest convenience should the Court deem argument

necessary in this matter.

       Prior to its elimination, the CBP One appointment process allowed 1,450 migrants per day

to seek asylum. As a result of the appointment process’s elimination, the right to seek asylum at

the border no longer exists, no matter how great the danger faced by migrants, including families

with children. Consequently, the need for relief from this Court is that much more acute.

       As set forth in Plaintiffs’ initial summary judgment briefs and their supplemental briefs

filed after Defendants finalized the Interim Final Rule, Plaintiffs alleged that the Rule’s elimination

of the right to seek asylum between ports of entry violated the clear text of 8 U.S.C. § 1158(a)(1)

(providing right to apply for asylum “whether or not” one entered at a port of entry). E.g., Pls.

MSJ at 9-12, ECF No. 23; Pls. Supp. Br. at 3, ECF No. 59. In defense of that restriction, Defendants

claimed that asylum was not categorically barred because those fleeing danger could still seek

asylum at a port of entry, albeit only by making an appointment through the CBP One app. E.g.,

Defs. MSJ Opp. at 30, ECF No. 45-1; Defs. Supp. Opp. at 5, ECF No. 62. But as Plaintiffs

explained, the availability of an appointment process at ports of entry could not save the restriction

on applying for asylum between ports, both because the CBP One appointment process had



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numerous flaws and limited daily slots, and more fundamentally, because those in danger must be

permitted to apply for asylum wherever, and however, they enter. E.g., Pls. MSJ at 9-12, 17-18,

ECF No. 23; Pls. Supp. Br. at 3, 10-13, ECF No. 59. That debate between the parties is now

academic because President Trump has eliminated the CBP One appointment process, thus

completely shutting down the asylum process at the border. Consequently, the Rule at issue here

is now even more indefensible given that migrants no longer have any right to seek asylum,

whether at a port or between ports.

       In addition, for Individual Plaintiff S.O. and her family, as well as others who have relied

on the appointment process and tried to comply with the Rule, their efforts were rendered futile.

They have waited in dangerous conditions and in some cases spent much of their life savings

waiting for appointments.

       Accordingly, Plaintiffs respectfully request that the Court schedule an immediate status

conference, permit the parties to file short supplemental briefs on the proposed expedited schedule,

and schedule oral argument should it deem argument necessary. In the event that the Court intends

to schedule oral argument, Plaintiffs respectfully request that it occur as soon as possible given the

mandate in 8 U.S.C. § 1252(e)(3)(D) that courts “expedite to the greatest extent possible” cases

involving challenges to the functioning of the expedited removal process.

 Dated: January 20, 2025                              Respectfully submitted,

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